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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    ALEXANDER E. JONES,                                              ) Case No. 22-33553 (CML)
                                                                     )
                             Debtor.                                 )
                                                                     )

                  NOTICE OF FILING OF PROPOSED SECOND AMENDED
               AGREED SCHEDULING ORDER FOR CONFIRMATION HEARING

        PLEASE TAKE NOTICE that, on November 30, 2023, Debtor Alexander E. Jones, the
Official Committee of Unsecured Creditors appointed in the above-captioned case, the
Connecticut Plaintiffs,1 and the Texas Plaintiffs2 (collectively, the “Parties”) filed the Proposed
Agreed Scheduling Order for Confirmation Hearing [ECF No. 511] with the United States
Bankruptcy Court for the Southern District of Texas (the “Court”), which the Court entered on
December 1, 2023 [ECF No. 512].

       PLEASE TAKE FURTHER NOTICE that, on January 29, 2024, the Parties filed the
Proposed Amended Agreed Scheduling Order for Confirmation Hearing [ECF No. 586] (the
“Proposed Amended Scheduling Order”) with the Court, which the Court entered on January 31,
2024 [ECF No. 595].

       PLEASE TAKE FURTHER NOTICE that, attached hereto as Exhibit A is the Proposed
Second Amended Agreed Scheduling Order for Confirmation Hearing (the “Proposed Second
Amended Scheduling Order”),3 pursuant to which the Parties have agreed to extend dates and
deadlines in connection with a confirmation hearing in this Chapter 11 Case. Subject to the Court’s
availability, the Parties respectfully request that the Court enter the Proposed Second Amended
Scheduling Order.

        PLEASE TAKE FURTHER NOTICE that, for the convenience of the Court and all
parties in interest, a blackline comparison of the Proposed Second Amended Scheduling Order
against the Proposed Amended Scheduling Order is attached hereto as Exhibit B.



1
  The “Connecticut Plaintiffs” are (i) David Wheeler; (ii) Francine Wheeler; (iii) Mark Barden; (iv) Jacqueline Barden;
(v) Nicole Hockley; (vi) Ian Hockley; (vii) Jennifer Hensel; (viii) Donna Soto; (ix) Carlee Soto-Parisi; (x) Carlos M.
Soto; (xi) Jillian Soto Marino; (xii) William Aldenberg; (xiii) William Sherlach; (xiv) Robert Parker; and (xv) Erica
Lafferty.
2
  The “Texas Plaintiffs” are: (i) Neil Heslin; (ii) Scarlett Lewis; (iii) Leonard Pozner; (iv) Veronique De La Rosa; and
(v) the Estate of Marcel Fontaine.
3
  Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to such terms in the
Proposed Second Amended Scheduling Order.
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Dated: March 1, 2024


/s/ Marty L. Brimmage, Jr.                        /s/ Ryan Chapple
AKIN GUMP STRAUSS HAUER & FELD LLP                CAIN & SKARNULIS PLLC
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-and-                                             KOSKOFF KOSKOFF & BIEDER, PC
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Melanie A. Miller (admitted pro hac vice)
One Bryant Park                                PAUL, WEISS, RIFKIND,
New York, NY 10036                             WHARTON & GARRISON LLP
Telephone: (212) 872-1000                      Kyle J. Kimpler (admitted pro hac vice)
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Creditors of Alexander E. Jones                E-mail: virobinson@paulweiss.com

                                                  Co-Counsel to the Connecticut Plaintiffs
      Case 22-33553 Document 622 Filed in TXSB on 03/01/24 Page 3 of 19




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Co-Counsel to the Texas Plaintiffs
       Case 22-33553 Document 622 Filed in TXSB on 03/01/24 Page 4 of 19




                                CERTIFICATE OF SERVICE

        I certify that on March 1, 2024, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District
of Texas.

                                                            /s/ Marty L. Brimmage, Jr.
                                                            Marty L. Brimmage, Jr.
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                            Exhibit A
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    ALEXANDER E. JONES,                                         ) Case No. 22-33553 (CML)
                                                                )
                            Debtor.                             )
                                                                )

                  PROPOSED SECOND AMENDED AGREED SCHEDULING ORDER
                              FOR CONFIRMATION HEARING

             WHEREAS, Debtor Alexander E. Jones (“Jones”), the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the above-captioned chapter 11 case (the “Jones Case”),

the Texas Plaintiffs,1 and the Connecticut Plaintiffs2 (collectively, the “Parties”) have met and

conferred regarding the scheduling of dates relevant to a confirmation hearing to commence on

[Tuesday, May 21], 2024 (the “Confirmation Hearing”) and have agreed to further amend the

Amended Agreed Scheduling Order for Confirmation Hearing [ECF No. 595] to allow for

continued discussions among the Parties;

             WHEREAS, the Court has considered the proposed schedule in connection with the

Confirmation Hearing;

             IT IS HEREBY ORDERED THAT:

             1.     The following dates and deadlines shall govern confirmation of any plans filed in

the Jones Case, including discovery and the conduct of the Confirmation Hearing:




1
  The Texas Plaintiffs comprise Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel
Fontaine.
2
  The Connecticut Plaintiffs comprise David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole
Hockley, Ian Hockley, Jennifer Hensel, Donna Sota, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,
William Aldenberg, William Sherlach, and Robert Parker.
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                      Event                                               Date
Plan Filing Date. The date by which any
Party or other party in interest must file a plan       Friday, December 15, 2023
(each, a “Plan”).
Jones Disclosure Statement Filing Date.
The date by which Jones must file his
                                                        Friday, December 22, 2023
disclosure statement in support of any Plan he
has proposed.
Committee Disclosure Statement Filing
Date. The date by which the Committee, the
Texas Plaintiffs and the Connecticut Plaintiffs
                                                        Friday, January 5, 2024
and any other party in interest proposing a
Plan must file its disclosure statement in
support thereof.
Written Discovery Deadline. The deadline
by which the Parties and any other parties in
interest shall serve discovery relating to any
Plans, potential objections thereto, and any
other matters to be heard at the Confirmation
Hearing (the “Requests”). The Parties and
other parties in interest may—and are
encouraged to—serve Requests sooner. The
Parties and any other parties in interest shall
                                                        Tuesday, January 9, 2024
serve responses and objections to any
Requests within two weeks of service of the
Requests. For the avoidance of doubt, the
Parties and any other parties in interest shall
meet and confer in good faith regarding
timing and any requested extension of
response deadline. The Parties also reserve
the right to serve Requests at a later date
based on developments since January 9.
Objections to Provisional Approval of
Disclosure Statements. The date by which
Parties and any other parties in interest shall         Tuesday, January 16, 2024
file any objections to the provisional approval
of any disclosure statements filed.
Disclosure Statement Hearing Date. The
date on which the Parties and any other
parties in interest shall, subject to the Court’s
                                                        Wednesday, January 24, 2024
availability, participate in a hearing regarding
any disclosure statements filed to seek
provisional approval thereof.
Solicitation Mailing/Publication Deadline.              Monday, January 29, 2024


                                                    2
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Privilege Log Deadline. The date by which
the Parties and any other recipients of the
Requests shall have provided logs of
                                                       Tuesday, January 30, 2024
documents responsive to the Requests that
were withheld or redacted on the basis of any
claim or privilege.
Substantial Completion of Document
Production. The date by which the Parties
and any other recipients of the Requests shall
substantially complete the production of
documents in response to the Requests.
Parties and any other recipients of the
Requests must commence production of
                                                       Friday, February 2, 2024
documents in response to Requests as soon
as reasonably possible and shall roll out
document production in tranches, as
available. Parties and any other recipients
of the Requests shall not wait until the
substantial completion deadline to
commence production.
Preliminary Witness Lists. The date by
which the Parties and any other parties in
interest shall exchange lists of witnesses each        Monday, March 25, 2024
such party in good faith expects to call at the
Confirmation Hearing.
Fact Witness Depositions. The dates during
                                                       Wednesday, March 27, 2024 – Wednesday,
which the Parties and any other parties in
                                                       April 3, 2024
interest shall conduct fact witness depositions.
Expert Reports. The date by which the
Parties and any other parties in interest shall
simultaneously exchange expert reports.                Monday, April 8, 2024
Bankruptcy Rule 7026 shall apply in its
entirely to any expert reports exchanged.
Production of Materials Relied Upon in
Expert Reports. The date by which the
Parties and any other parties in interest shall
produce copies of any documents or data that
                                                       Monday, April 8, 2024
were (a) relied on by such party’s expert in
forming the opinions contained in such report
and (b) have not already been produced in
these cases.
Plan Objection Deadline. The date by
                                                       Wednesday, April 10, 2024
which objections to any Plan must be filed.
Rebuttal Expert Report. The date by which
the Parties and any other parties in interest          Tuesday, April 16, 2024
may exchange rebuttal expert reports, if any.


                                                   3
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Production of Materials Relied Upon in
Rebuttal Expert Reports. The date by
which the Parties and any other parties in
interest shall produce copies of any
                                                         Tuesday, April 16, 2024
documents or data that were (a) relied on by
such party’s expert in forming the opinions
contained in rebuttal reports and (b) have not
already been produced in these cases.
Expert Depositions. The dates during which
                                                         [Wednesday, April 17 – Tuesday, April 23,
the Parties and any other parties in interest
                                                         2024]
shall conduct expert witness depositions.
Exchange of Exhibits. The deadline by
which the Parties and any other parties in
                                                         Wednesday, April 24, 2024
interest shall exchange exhibits with each
other.
Exchange of Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest shall serve a final list
of witnesses and exhibits they intend to offer
at the Confirmation Hearing (subject to
supplementation from ongoing expert                      Friday, May 10, 2024
depositions). Witness lists shall identify all
witnesses that each party will call and may
call at the Confirmation Hearing and shall
provide a brief summary of the anticipated
testimony of each witness.
Objections to Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest must serve any                 Tuesday, May 14, 2024
objections to the final witness and exhibit
lists.
Replies to Objections / Briefs in Support of
Confirmation. The date by which the Parties
and any other parties in interest must file their
                                                         Thursday, May 16, 2024
replies to all timely objections to their
respective Plans and submit any briefs in
support of confirmation of any Plan.
Meet and Confer. The date on which the
Parties and any other parties in interest shall
                                                         Friday, May 17, 2024
meet and confer concerning any objections to
witnesses or exhibits.
Final Pretrial Conference. The date on
which the Parties and any other parties in
                                                         [To be set week prior to Confirmation
interest shall, subject to the Court’s
                                                         Hearing]
availability, participate in a final pretrial
conference.


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Filing of Final Witness and Exhibit Lists
with the Clerk of the Court. The deadline
                                                        [To be set two days before of
by which the Parties and any other parties in
                                                        commencement of Confirmation Hearing]
interest shall file final exhibit and witness
lists with the Clerk of the Court.
Confirmation Hearing Dates. The
timeframe in which the Parties and any other
parties in interest shall complete trial. For the       [Tuesday, May 21, 2024 – Wednesday, May
avoidance of doubt, final approval of any               22, 2024]
disclosure statements filed will be sought
during the Confirmation Hearing.

      2.      Service. The Parties and any other parties in interest agree to serve by email on all

  other Parties and any other parties in interest all discovery requests and written responses.

  Parties producing electronically stored information shall simultaneously transmit or make

  available such productions to all Parties that are bound by the Stipulated Confidentiality

  Agreement and Protective Order, dated February 14, 2023 [FSS ECF No. 461; Jones ECF No.

  159].

      3.      Discovery Disputes. The Parties and any other parties in interest shall promptly

  seek Court intervention regarding any disputes that cannot be resolved consensually, which

  disputes shall be heard by the Court on an expedited basis.

      4.      Confirmation Hearing. The Parties and any other parties in interest will meet and

  confer on the details of the Confirmation Hearing, including the sequencing and length of

  witness testimony and the presentation of other evidence.

      5.      Amendments or Modifications. The Court may amend or modify the terms of

  this Order for good cause shown.

      6.      Retention of Jurisdiction. This Court shall retain jurisdiction over any and all

  matters arising from or related to the interpretation of this Order.




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Dated: [DATE]           ____________________________________
       Houston, Texas   HONORABLE CHRISTOPHER M. LOPEZ
                        UNITED STATES BANKRUPTCY JUDGE




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                            Exhibit B
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    ALEXANDER E. JONES,                                         ) Case No. 22-33553 (CML)
                                                                )
                           Debtor.                              )
                                                                )

                PROPOSED SECOND AMENDED AGREED SCHEDULING ORDER
                            FOR CONFIRMATION HEARING

             WHEREAS, Debtor Alexander E. Jones (“Jones”), the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the above-captioned chapter 11 case (the “Jones

Case”), the Texas Plaintiffs,1 and the Connecticut Plaintiffs2 (collectively, the “Parties”) have

met and conferred regarding the scheduling of dates relevant to a confirmation hearing to

commence on March 25[Tuesday, May 21], 2024 (the “Confirmation Hearing”) and have agreed

to the following proposed scheduling order; andfurther amend the Amended Agreed Scheduling

Order for Confirmation Hearing [ECF No. 595] to allow for continued discussions among the

Parties;

             WHEREAS, the Court has considered the proposed schedule in connection with the

Confirmation Hearing;

             IT IS HEREBY ORDERED THAT:




1
  The Texas Plaintiffs comprise Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and Marcel
Fontaine.
2
  The Connecticut Plaintiffs comprise David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole
Hockley, Ian Hockley, Jennifer Hensel, Donna Sota, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,
William Aldenberg, William Sherlach, and Robert Parker.
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       1.      The following dates and deadlines shall govern confirmation of any plans filed in

the Jones Case, including discovery and the conduct of the Confirmation Hearing:




                       Event                                               Date
 Plan Filing Date. The date by which any
 Party or other party in interest must file a plan       Friday, December 15, 2023
 (each, a “Plan”).
 Jones Disclosure Statement Filing Date.
 The date by which Jones must file his
                                                         Friday, December 22, 2023
 disclosure statement in support of any Plan he
 has proposed.
 Committee Disclosure Statement Filing
 Date. The date by which the Committee, the
 Texas Plaintiffs and the Connecticut Plaintiffs
                                                         Friday, January 5, 2024
 and any other party in interest proposing a
 Plan must file its disclosure statement in
 support thereof.
 Written Discovery Deadline. The deadline
 by which the Parties and any other parties in
 interest shall serve discovery relating to any
 Plans, potential objections thereto, and any
 other matters to be heard at the Confirmation
 Hearing (the “Requests”). The Parties and
 other parties in interest may—and are
 encouraged to—serve Requests sooner. The
 Parties and any other parties in interest shall
                                                         Tuesday, January 9, 2024
 serve responses and objections to any
 Requests within two weeks of service of the
 Requests. For the avoidance of doubt, the
 Parties and any other parties in interest shall
 meet and confer in good faith regarding
 timing and any requested extension of
 response deadline. The Parties also reserve
 the right to serve Requests at a later date
 based on developments since January 9.
 Objections to Provisional Approval of
 Disclosure Statements. The date by which
 Parties and any other parties in interest shall         Tuesday, January 16, 2024
 file any objections to the provisional approval
 of any disclosure statements filed.
 Disclosure Statement Hearing Date. The                  Wednesday, January 24, 2024


                                                     2
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date on which the Parties and any other
parties in interest shall, subject to the Court’s
availability, participate in a hearing regarding
any disclosure statements filed to seek
provisional approval thereof.
Solicitation Mailing/Publication Deadline.              Monday, January 29, 2024
Privilege Log Deadline. The date by which
the Parties and any other recipients of the
Requests shall have provided logs of
                                                        Tuesday, January 30, 2024
documents responsive to the Requests that
were withheld or redacted on the basis of any
claim or privilege.
Substantial Completion of Document
Production. The date by which the Parties
and any other recipients of the Requests shall
substantially complete the production of
documents in response to the Requests.
Parties and any other recipients of the
Requests must commence production of
                                                        Friday, February 2, 2024
documents in response to Requests as soon
as reasonably possible and shall roll out
document production in tranches, as
available. Parties and any other recipients
of the Requests shall not wait until the
substantial completion deadline to
commence production.
Solicitation Mailing/Publication Deadline.              Monday, January 29, 2024
Privilege Log Deadline. The date by which
the Parties and any other recipients of the
Requests shall have provided logs of
                                                        Tuesday, January 30, 2024
documents responsive to the Requests that
were withheld or redacted on the basis of any
claim or privilege.
Preliminary Witness Lists. The date by
which the Parties and any other parties in
                                                        Friday, February 23, Monday, March 25,
interest shall exchange lists of witnesses each
                                                        2024
such party in good faith expects to call at the
Confirmation Hearing.
Fact Witness Depositions. The dates during
                                                        Tuesday, February 27 – Thursday,
which the Parties and any other parties in
                                                        February 29,Wednesday, March 27, 2024 –
interest shall conduct fact witness
                                                        Wednesday, April 3, 2024
depositions.
Expert Reports. The date by which the                   Monday, April 8, 2024
Parties and any other parties in interest shall
simultaneously exchange expert reports.
Bankruptcy Rule 7026 shall apply in its


                                                    3
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    entirely to any expert reports exchanged.
    Production of Materials Relied Upon in
    Expert Reports. The date by which the
    Parties and any other parties in interest shall
    produce copies of any documents or data that              Wednesday, March 6,Monday, April 8,
    were (a) relied on by such party’s expert in              2024
    forming the opinions contained in such report
    and (b) have not already been produced in
    these cases.
    Plan Objection Deadline. The date by
                                                              Wednesday, April 10, 2024
    which objections to any Plan must be filed.
    Rebuttal Expert ReportsReport. The date
    by which the Parties and any other parties in
    interest shall simultaneouslymay exchange
    rebuttal expert reports, with a date for rebuttal
    reports (if needed) to be determined by the               Friday, March 8,Tuesday, April 16, 2024
    Parties and any other parties in interest
    intending to serve such reports. Bankruptcy
    Rule 7026 shall apply in its entirely to any
    expert reports exchanged.3if any.
    Plan Objection DeadlineProduction of
    Materials Relied Upon in Rebuttal Expert
    Reports. The date by which objections to
    any Plan must be filedthe Parties and any
    other parties in interest shall produce copies
                                                              Friday, March 8,Tuesday, April 16, 2024
    of any documents or data that were (a) relied
    on by such party’s expert in forming the
    opinions contained in rebuttal reports and (b)
    have not already been produced in these
    cases.
    Expert Depositions. The dates during which
                                                              [Wednesday, April 17 – Tuesday, April 23,
    the Parties and any other parties in interest
                                                              2024]
    shall conduct expert witness depositions.
    Exchange of Exhibits. The deadline by
    which the Parties and any other parties in
                                                              Wednesday, April 24, 2024
    interest shall exchange exhibits with each
    other.
    Exchange of Final Witness and Exhibit                     Friday, March 8May 10, 2024
    Lists. The date by which the Parties and any
    other parties in interest shall serve a final list
    of witnesses and exhibits they intend to offer




3
    Any rebuttal opinions may be offered during Expert Depositions.


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at the Confirmation Hearing (subject to
supplementation from ongoing expert
depositions). Witness lists shall identify all
witnesses that each party will call and may
call at the Confirmation Hearing and shall
provide a brief summary of the anticipated
testimony of each witness.
Exchange of Exhibits. The deadline by
which the Parties and any other parties in
                                                       Friday March 8, 2024, 12 pm CT
interest shall exchange exhibits with each
other.
Objections to Final Witness and Exhibit
Lists. The date by which the Parties and any
other parties in interest must serve any               Monday, March 18,Tuesday, May 14, 2024
objections to the final witness and exhibit
lists.
Expert Depositions. The dates
duringReplies to Objections / Briefs in
Support of Confirmation. The date by
which the Parties and any other parties in
                                                       [Tuesday, March 19Thursday, May 16,
interest shall conduct expert witness
                                                       2024 – Wednesday, March 20, 2024]
depositionsmust file their replies to all timely
objections to their respective Plans and
submit any briefs in support of confirmation
of any Plan.
Meet and Confer. The date on which the
Parties and any other parties in interest shall        [Wednesday, March 20Friday, May 17,
meet and confer concerning any objections to           2024 / Thursday, March 21, 2024]
witnesses or exhibits.
Filing of Final Witness and Exhibit Lists
with the Clerk of the Court. The deadline
by which the Parties and any other parties in          Thursday, March 21, 2024
interest shall file final exhibit and witness
lists with the Clerk of the Court.
Final Pretrial Conference. The date on
which the Parties and any other parties in
                                                       Thursday, March 21, 2024[To be set week
interest shall, subject to the Court’s
                                                       prior to Confirmation Hearing]
availability, participate in a final pretrial
conference.
Reply to Objections. The dateFiling of                 Thursday, March 21, 2024[To be set two
Final Witness and Exhibit Lists with the               days before of commencement of
Clerk of the Court. The deadline by which              Confirmation Hearing]
the Parties and any other parties in interest
mustshall file their reply to all timely
objections to their respective Plansfinal
exhibit and witness lists with the Clerk of the


                                                   5
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 Court.
 Confirmation Hearing Dates. The
 timeframe in which the Parties and any other
 parties in interest shall complete trial. For the       [Monday, March 25Tuesday, May 21, 2024
 avoidance of doubt, final approval of any               – Wednesday, March 27May 22, 2024]
 disclosure statements filed will be sought
 during the Confirmation Hearing.

       2.      Service. The Parties and any other parties in interest agree to serve by email on

   all other Parties and any other parties in interest all discovery requests and written responses.

   Parties producing electronically stored information shall simultaneously transmit or make

   available such productions to all Parties that are bound by the Stipulated Confidentiality

   Agreement and Protective Order, dated February 14, 2023 [FSS ECF No. 461; Jones ECF

   No. 159].

       3.      Discovery Disputes. The Parties and any other parties in interest shall promptly

   seek Court intervention regarding any disputes that cannot be resolved consensually, which

   disputes shall be heard by the Court on an expedited basis.

       4.      Confirmation Hearing. The Parties and any other parties in interest will meet

   and confer on the details of the Confirmation Hearing, including the sequencing and length

   of witness testimony and the presentation of other evidence.

       5.      Amendments or Modifications. The Court may amend or modify the terms of

   this Order for good cause shown.

       6.      Retention of Jurisdiction. This Court shall retain jurisdiction over any and all

   matters arising from or related to the interpretation of this Order.



Dated: [DATE]                  ____________________________________
       Houston, Texas          HONORABLE CHRISTOPHER M. LOPEZ
                               UNITED STATES BANKRUPTCY JUDGE




                                                     6
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                              Summary report:
      Litera Compare for Word 11.7.0.54 Document comparison done on
                            3/1/2024 12:43:32 PM
 Style name: Default Style
 Intelligent Table Comparison: Active
 Original filename: old.docx
 Modified filename: new.docx
 Changes:
 Add                                                     32
 Delete                                                  31
 Move From                                               2
 Move To                                                 2
 Table Insert                                            6
 Table Delete                                            4
 Table moves to                                          0
 Table moves from                                        0
 Embedded Graphics (Visio, ChemDraw, Images etc.)        0
 Embedded Excel                                          0
 Format changes                                          0
 Total Changes:                                          77
